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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )      No. 5:18-CR-81-REW-MAS
                                                     )
 v.                                                  )
                                                     )                 ORDER
 LIVIU-SORIN NEDELCU,                                )
                                                     )
       Defendant.                                    )
                                                     )
                                                     )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 676 (Minute Entry), Judge Stinnett

recommended that the undersigned accept Defendant Nedelcu’s guilty plea and adjudge him guilty

of Count 1 of the Superseding Indictment. See DE 679 (Recommendation); see also DE 678 (Plea

Agreement); DE 249 (Superseding Indictment) ¶¶ 7–29. Judge Stinnett expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 679 at 3. The established, 3-day objection deadline has passed, and no party

has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”

filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

                                                 1
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       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 679, ACCEPTS Nedelcu’s guilty plea, and ADJUDGES him

           guilty of Count 1 of the Superseding Indictment (DE 249 ¶¶ 7–29);

       2. The forfeiture allegation of the operative indictment names Defendant Nedelcu. See

           DE 249 at 85–89.1 Per Defendant’s agreement concerning the forfeitability predicate,

           see DE 678 ¶ 10, the Court provisionally FINDS that Nedelcu has an interest in the

           “$20,722.24” described in the plea agreement and preliminarily ADJUDGES

           Defendant’s interest in such property FORFEITED. Under Criminal Rule 32.2, and

           absent pre-judgment objection, “the preliminary forfeiture order becomes final as to”

           Defendant at sentencing. Fed. R. Crim. P. 32.2(b)(4)(A). The Court will further address

           forfeiture at that time. See id. at (b)(4)(B);

       3. In anticipation of that process, the Court notes that the plea agreement mixes forfeiture

           principles. Defendant has agreed that the $20,722.24 “is subject to forfeiture because a

           nexus exists between the property and the offense,” as alleged in the Superseding

           Indictment’s forfeiture allegation. DE 678 at 5. The relevant RICO provision deems

           forfeitable, inter alia, “any property constituting, or derived from, any proceeds which

           the person obtained, directly or indirectly, from racketeering activity . . . in violation of

           section 1962.” 18 U.S.C. § 1963(a)(3). Nedelcu has agreed that the $20,722.24 has, as

           alleged in the charging document, the nexus to his racketeering activities that § 1963(a)



1
  Per the plea agreement, the Government has agreed to dismiss the only portion of the forfeiture
allegation that specifically identifies allegedly forfeitable property in which Nedelcu has a readily
apparent interest. See id. at 88 ¶ 5 (“Real property located at 40-42BC Uraus Street, Building 10,
Apartment 18, Magurele City, Illfov County, Romania, consisting of an apartment in name of
Liviu Sorin Nedelcu and Andreea Maria Nedelcu.”); DE 678 ¶ 1.
                                                   2
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           requires for forfeiture of specific property. See DE 249 at 85–86 ¶ 2 (a)–(c). The Court

           preliminarily orders direct forfeiture of the agreed $20,722.24 on that basis. However,

           the plea agreement also contemplates “imposition of a money judgment[.]” DE 678 ¶

           10. The statute authorizes entry of a money judgment only if “as a result of any act or

           omission of the defendant” (stated generally) the Government cannot secure direct

           forfeiture of specifically forfeitable property. 18 U.S.C. § 1963(m).2 Defendant did not

           agree that his acts or omissions rendered the $20,722.24 unreachable. In short, Nedelcu

           agreed to the factual predicates necessary for direct forfeiture of the funds but did not

           agree to the prerequisite for substitute-property forfeiture or imposition of a money

           judgment. Accordingly, the Government SHALL, within 10 days, submit a status

           report clarifying its intent regarding forfeiture. Defendant Nedelcu, within 14 days of

           the Government’s status report, SHALL respond;

       4. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and

       5. The Court will issue a separate sentencing order.3

       This the 18th day of June, 2020.




2
  This marks the third time that the Court has staked out this distinction. See DE 642 at 2–3; DE
654 at 2–3.
3
  At the hearing, Judge Stinnett remanded Nedelcu to custody. See DE 676. The Court, thus, sees
no need to further address detention, at this time.
                                                 3
